  Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 1 of 10 Pageid#: 3
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M ark Taylor,Plaintiff


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                                              l
C MG Leasing,Defendant
                                              I


                                CO M PLAINT FO R CIVIL CA SE



PlaintiffStates thaton Tuesday August4,2019 Ieasing office CM G Iocated at300 Downey St

Radford Va m ade a false com plaints to police thatPlaintiffm ade repeated calls and death

threats to theiroffice and was on the w ay to carry out threats.



Plainti; states CM G Ieasing acted outa resultofretaliation by the CM G Ieasing office against

Plainti@ due to com plaints made by Plaintiff.



Plaintiffstates thatCM G Ieasing was negligentbased in the dealings w ith Plaintiffabout

providing the m ostim podantinformation necessary abouthis occupancy agreem ent.
  Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 2 of 10 Pageid#: 4



Plainti
      ffstates thatCM G Leasing stonewalls to use constantrhetoric to controland m anipulate

decisions and is unethicalin theirdealings.They are using these rhetoric to satisfy ow n self

interestofwill
             fulintentto prom ote bias and,psychologicalharassm ent.



CM G failed to provide Plaintiffwith copy ofIease w hen requested m ultiple tim es.Errors w ere

m ade to Iogin inform ation to inform thatPlainti; had païd aIIrentup frontfrom Decem ber29,

2019 to August8,2019 then Plaintiffw as to pay monthly thereafter.



Plainti; received an em ailofcourtaction to m ove by CM G Leasing.


                                          l
 ItisalsounderstoodthatPlainti
                             ffhadfulll
                                      controloftheapartmentsinceaIIbillswouldbepaid
by currentoccupantw hich w ould be Plain i#.



CM G Ieasing then w anted to rem ove Plaintifffrom apadm enton shod notice and with false

information abouthis occupancy due to the errors,and negligence done by CM G Leasing Office



Plaintiffstates thathe was going the office to'inform them ofhow m uch he w illnottolerate their

rude and negative behavior,and the rhetoric being executed tow ards him and,there was never

a threatto harm him selforothers,They continued to stonewall,and prom oted atm osphere of

denial



Plaintis states thatAugust4th,2019 thathe w as taken into custody due false charges and

statem ents by CM G leasing to the Radford Police.
  Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 3 of 10 Pageid#: 5



Plaintiffstatesthatdueto poorjudgementand negligentdecisionsa ECO wasorderedwhichis
Em ergency Custody O rderby the Radford Police depadm ent.



Plainti; states thaton his way to Richm ond,VA, and Virginia Beach,VA,he m ade a reststop in

Charlottesville ,VA atthe m alland was arrested.



Plaintiffw as then inform ed by Charlottesville Police thatthere was a callto arresthim and the

callcam e from Radford,Va.




Plai
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     ffwastakentoUni
                   versi
                       tyofVi
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                              ni
                               aHospi
                                    tahduetotheEmergencyCustodyOrder,then
toCarilionHospitalinRoanoke,andwasfoundn/tobeadangertohimselforothers.

Plaintiffhad explained the incidents to hospitalsta#.However,due to the circum stances ofthe

m atterthatwas already know n by Radford Police,thatPlaintiffhad no otherviolentintentions,

and the w hole decision w as negligentto authorize thatfirm ofcustody.



Plainti
      ; w as released on Thursday August6,2019 w hich would have been a day earlier



Plaintis states as resultoffalse written statem ents,and fabrication offearwhich w as purel
                                                                                          y

outrageous behavior,and as an actofretaliation due to the com plaints againstthem ,and there

has already been com plaints by otherform ertenants.
  Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 4 of 10 Pageid#: 6



Plaintiff was as a resultofretaliation for com plaints againstthe em ployees ofCM G Ieasing for

theirIack ofintegrity and service and respectincluding theirnegligence Iocated in Radford

Virginia.



Plainti; States thaton Decem ber29,2018 he arrived into the renting office to take controlofthe

apartm entby sub Iease agreem ent.



Plaintiffpaid upfrontfrom Decem ber29,20180 untilAugust8,2019,and atm ultiple tim es

requested a copy ofthe Iease.


    1                                                     I
Plaihti
    , ffwasofficiallytheresponsibletenantoftheapartmerht,buthasneverreceivedtheIease
upo request.

    t


Plaintiffhas suffered greathum iliation,and em barrassmentdue to his ordeal.



The acts so faragainstPlainti
                            ffwere oppressive,and biased.



Plaintiffhadsufferedfrom extensivebias,andissubjectedtosevere CharacterAssassination.


Plainti
      ffhasbeensubjectedtodemonizing statementsagainsthim.


Plaintiffstates actions are in violation ofthe Law ofTorts,and these actions were deliberate,

w illful,and m alicious.
  Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 5 of 10 Pageid#: 7



Reliefis soughtforIntentionalInfliction ofEm otionalDistress,w hich is Hum iliation,

Em barrassm ent,Anguish,Negligence,Filing False Police Repods,Discrim ination,and Slander.



This is also Harassm entofthe Psychology ofBlocking and Diveding,and W i
                                                                       thholding,as they

are used as m anipulative rhetoric,and are notifthe norm s in society.



Reliefis50,000,000.00lFiftyMillion Dollars)




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                   Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 6 of 10 Pageid#: 8
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               1(Rev.12/16)ComplaintforaCivilCase                                                                     .         U




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                                Defendantls)
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                                                    COM PLM NT FOR A CIVIL CA SE

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                  A.       ThePlaintiffls)
                           Provide theinformation below foreach plaintiffnnmed in the complaint. Attach additionalpagesif
                           needed.
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                                    State and Zip Code                      .
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                                    TelephoneNumber                             o R3o - & G
                                    E-mailAddress


                   B.      TheDefendantts)
                           Providethe information below foreach defendantnamed inthecomplaint,whetherthe defendantisan
                           individual,agovenunentagency,an organization,oracom oration. Foran individualdefendant,
                           includetheperson'sjobortitle(Ifknown).Attachadditionalpagesifneeded.

                                                                                                                          Page 1of5
                 Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 7 of 10 Pageid#: 9
 p5.e
#'



        ProSe1(Rev.12/16)ComplaintforaCivilCase

                         DefendantNo.1
                                 N am e                           G              e & ,<
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                                  Job örTitle (êknown)        '
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                                  StreetAddress              &0                  d        .
                                  City and County                         rJ (71 M o              e,e
                                  State andZip Code
                                  TelephoneNumber           Sq o          ,3 - $ 2
                                  E-mailAddress(êknown)

                         DefendantNo.2
                                  Nam e
                                  Job orTitle (êknown)
                                  StreetAddress
                                  City and County
                                  Stateand Zip Code
                                  TelephoneNum ber
                                  E-m ailAddress(tfknown)

                         DefendantNo.3
                                  Name
                                  Job orTitle(êknown)
                                  StreetAddress
                                  City and County
                                  State andZip Code
                                  TelephoneNumber
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                         DefendantNo.4
                                  N ame
                                  Job orTitle (t
                                               flcnown)                          ,                           '
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                                  City and County
                                  State and Zip Code
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                                  E-mailAddress(êknown)


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                Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 8 of 10 Pageid#: 10
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                 '.12/16)ComplaintforaCivilCase

        II.     basisforJurisdiction

                Federalcourtsarecourtsoflimitedjprisdiction(limitedpower).Generally,(mlytwotypesofcasescanbe
                heardin federalcourt:casesinvolving afederalquestion andcmsesinvolving diversity ofcitizenship ofthe
                parties.Under28U.S.C.j 1331,acasearisingundertheUnitedStatesConstitution orfederal'
                                                                                                  lawsortreaties
                isafederalquestionca'
                                    se.Under28U.S.C.j1332,p.case'inwhiçh.aciti
                                                                             .zenofoneStatesuesacitigenof
                anotherState ornation and the nmountatstake ismorethan $75,000 isadiversity ofcitizenship case. In a
                diversity ofcitizenjhip case,no defendantmay be acitizen ofthe sam eState asany plaintiff.

                W hatisthebmsisforfederalcourtjurisdiction? (checkallthattz
                                                                          lwj'
                                                                             ?
                          Federalquestion                            Diversity ofcitizenship

                Fillouttheparagraphsin thissection thatapply to thiscase.

                A.          . eBa
                         Ifth    sistorJurisdiction IsaFederalQuestion
                         Listthespecitk'federalstatutes,federaltreaties,and/orprovisionsoftheUnitedStatesCônstitutionthat
                         are atissuein thiscase.          ,      /

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                B.       Ift.hewBasisforlurisdicti
                                             .   qn IspiversityofCitizpnship
                                      ThePlaintiffts)
                                             Iftheplaintiffisan individual
                                             The plaintiff, (name)                                        ,isacitizen ofthe
                                             Stateof(name)

                                      b.     lftheplaintiffisa corporation
                                             Theplaintiff, (name)                                         ,isincop orated
                                             underthelawsoftheStateof(name)                                                  ,
                                             and hasitsprincipalplaceofbusinessinthe Stateof(name)


                                      (Ifmorethanoneplcfnflf/'f.
                                                               çnamedinthecomplaint,attachanadditîonalpageprovidingthe
                                      sameinformationforeach additionalplaintt)
                         2.           TheDefendantts)
                                             Ifthedefendantisan individual
                                             Thedefendmlt, (name)                                  .      ,isacitizen of
                                             the Stateof(name)                                         . Orisa citizen of
                                             (foreignnation)

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                 Case 7:19-cv-00564-MFU Document 2 Filed 08/14/19 Page 9 of 10 Pageid#: 11
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                                   b.      Ifthe defendantisacorporation
                                           The defendant, (nama)           ' '       . '.-G        ,isincorporated under
                                           thelawsoftheStateof(name)        ekc   'w j
                                                                                     t            '         ,and hasits
                                           principalplaceofbusinessintheStateof(name) U j+ '(1 t   .                      .
                                            Orisincorporatedunderthelawsof(forei
                                                                               gnnatîon)                                  ,
                                           andhasitsprincipal'placeofbusinessin (name)

                                   (Ifmorethanonede# ndantisnamedinthecomplaint,attachanadditionalpageproviding the
                                   sameinformationforeachadditionaldefendant.
                                                                            )                      '
                                   TheAmountin Controversy

                                   Thenm ountin controversy-thenm ounttheplaintiffclaimsthedefendantowesorthe amountat
                                   stake-ismorethan$75,000,notcountinginterestandcostsofcourt,because(explain):



                                        Qo                                 ç'
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                                                                            f: wsls 'x ooskqg.i
         111.    Statem entofClaim

                 W rite ashortand plain statementoftheclaim. D'
                                                              onotmakelçgalarguments. Stateasbriefly aspossiblethe
                 factsshowingthateachplaintiffisentitledtothedamagesorotherreliefsought.Statehow eachdefendantwas
                 involvedandwhateachdefenéantdidthatcausedtheplaintiffharm orviolatedtheplaintifsrights,including
                 thedatesmld placesofthatinvolvementgrconduct. Ifmorethan oneclaim isasserted,number.each claim and
                 writea shortand plain statem entofeach claim in aseparatepafagraph.Attach additionalpagesifneeded.
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         IV.     Relief

                 Statebriefly and precisely whatdàmagesorotherrelieftheplaintiffasksthecoul'tto order. Donotm ake legal
                 arguments. lnclude any basisforclaim ing thatthewrongsalleged are continuing atthepresenttime.Include
                 the am ountsofany actualdnm agesclaimed forthe actsalleged and thebasisfortheseamounts.Includeany
                 punifive orexemplary dmnagesclaimed,themnounts,and the reasonsyou claim you areentitledtoactua!or
                 punitivem oney damages.
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         V.      Certincation andClosing                                                                                 .,
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                 UnderFederalRuleofCivilProcedure11,bysigningbelow,1certiâ tothebestbfmylmowlqdge,infprmation,' -.
                 andbeliefthatthiscomplaipt:(1)isnotbeipgpresentedforgnimproperptu-  pose,sgch ms.toharass,cause
                 upneçessm'ydelay,ornçedlesslyincreasetheco:toflitigation;(2)issupportedby existinglAw orby a.
                 nonfrivolousargumentfor.çxtending,modifying,ormversingexistingl>w;(3)thefactualcontentionshave.
                                          .

                 evidentimy supportor,ifspecitically so identified,willlikely haveevidentiary supportaqera reasonable
                 opportimity forfurtherinvestigationordiscovery;mzd(4)thecomplaintotherwisecomplieswiththe
                 requirem entsofRule 11.           '

                          ForPartiesW ithoutan Attorney
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                          Sbtked. '1undetjtandthatmy failtlrètokeep acurrentaddrèsson filewith the Clerk'sOm ce inay résult
                          in thedismissalofmy case.                                            '

                          Date ofsigning:

                                                          v'
                          Signature ofPlaintiff           l          .M

                          Printed Nnm eofPlaintiff      M      ek
                 B. .     ForAttorneys

                          Dateofsigning'
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                          8ignm re ofAttprney
                          PrintedNanieofAttorney
                          BarNumber
                          NameofLaw Firm
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